Case 5:10-cr-00001-RWS-JBB            Document 62        Filed 06/21/10      Page 1 of 10 PageID #:
                                              89



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §                                     5:10-CR-1(1)
                                                §
 LEO PATRICK COLLINS                            §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3) and the Amended Order for the

 Adoption of Local Rules for Assignment of Duties to United States Magistrate Judges, Defendant’s

 Motion to Suppress (Docket Entry # 33) was referred to the Honorable Caroline M. Craven for the

 purpose of preparing a report and recommendation. The Court, having reviewed the relevant briefing

 and hearing arguments of counsel June 14, 2010, recommends the motion should be DENIED.

                                        I. BACKGROUND

        On December 7, 2009, Leo Patrick Collins (“Defendant”) was stopped outside the city limits

 of Winfield, Texas for an alleged traffic offense by Sgt. Charlie Walker of the Winfield Police

 Department. A subsequent search of Defendant’s vehicle resulted in the seizure of approximately

 2 kilograms of cocaine and other items of personal property.

                         II. DEFENDANT’S MOTION TO SUPPRESS

        Defendant moves the court to suppress all evidence seized on December 7, 2009, in a search

 of Defendant’s automobile on US Interstate Highway 30 in Titus County, Texas. According to

 Defendant, Sgt. Walker had no legal authorization to conduct a traffic stop outside his jurisdiction.

 Defendant further asserts the search in this case was conducted without a warrant in violation of the

 Fourth Amendment of the United States Constitution.
Case 5:10-cr-00001-RWS-JBB            Document 62         Filed 06/21/10      Page 2 of 10 PageID #:
                                              90



                               III. THE JUNE 14, 2010 HEARING

          Winfield, Texas Police Department Sgt. Charlie Walker (“Sgt. Walker”) testified at the June

 14, 2010 hearing that he has been a sergeant for over two years, and he had over two years

 experience prior to becoming a sergeant. He has had training in making drug interdiction stops,

 meaning making contact with people traveling on roadways who are engaged in carrying contraband.

 He has had approximately 1500-2000 hours of drug interdiction training with approximately 1000-

 1500 hours in the field. Sgt. Walker testified he has had extensive training in verbal clues and

 indicators that someone is involved in criminal activity, and he uses these techniques on a regular

 basis.

          Sgt. Walker testified regarding the incident on December 7, 2009, wherein he stopped

 Defendant on Interstate 30 (“I-30") at approximately 11:30 p.m. Matt Brown, a firefighter for the

 Hopkins County Fire Department, was riding in the patrol car with Sgt. Walker on the date in

 question. According to Sgt. Walker, it is not unusual for a civilian to ride with an officer, observing

 the officer patrol. Mr. Brown had previously ridden with Sgt. Walker while on patrol.

          On the date in question, Sgt. Walker was observing the traffic and observed a white vehicle

 pass by with a defective license plate light, obstructing the officer’s view of the vehicle’s license

 plate. Sgt. Walker flagged the vehicle for a traffic stop, taking in as much information about the

 vehicle as possible while he attempted to catch up to the vehicle.

          According to the Government’s written response to Defendant’s motion, Sgt. Walker pulled

 into the righthand lane of traffic, caught up to the white Lexus being driven by Defendant, and

 confirmed that the license plate light was defective. Sgt. Walker testified he then activated his

 overhead emergency red and blue lights and signaled for the car to pull over on the improved


                                                   2
Case 5:10-cr-00001-RWS-JBB            Document 62         Filed 06/21/10      Page 3 of 10 PageID #:
                                              91



 shoulder, automatically activating an audio and video dash camera in the patrol vehicle. Sgt.

 Walker’s camera system records what is going on in front of the patrol car and inside of the patrol

 car at the same time. There are two microphone systems, one is worn by Sgt. Walker and one is

 located above the passenger’s side door. According to Sgt. Walker, he was wearing the body

 microphone on the date in question.

        Once the vehicle came to a stop, Sgt. Walker approached the passenger side of the vehicle.

 As he approached, Sgt. Walker noticed the vehicle was extremely clean and occupied by only the

 driver. As he approached, Sgt. Walker also noticed, and verbally commented to himself, the presence

 of an extremely strong odor of air freshener coming from the vehicle; this was before any window

 was opened. Once he reached the passenger’s side of the vehicle, Sgt. Walker tapped on the

 passenger-side window so he could speak with the driver, Defendant Collins. Defendant

 acknowledged Sgt. Walker’s presence. According to Sgt. Walker, Defendant appeared to be

 unfamiliar with the vehicle he was driving. Specifically, Defendant tried to roll the window down.

 but he was unable to figure out how to roll the window down. Defendant had to open the passenger-

 side door. When Defendant opened the passenger-side door, Sgt. Walker explained who he was and

 asked for his information. Defendant indicated that the vehicle belonged to his uncle who resides

 in Pine Bluff, Arkansas.

        After Sgt. Walker asked Defendant to get his driver’s license and proof of insurance,

 Defendant handed Sgt. Walker the information either in the car or as soon as he exited the vehicle.

 Sgt. Walker asked Defendant to follow him to the side of the road out of harm’s way. Sgt. Walker

 frisked Defendant for weapons, as is his practice, and then asked Defendant to sit in the front

 passenger seat of his patrol car. Sgt. Walker then sat in the driver’s side of the patrol car.


                                                    3
Case 5:10-cr-00001-RWS-JBB            Document 62         Filed 06/21/10      Page 4 of 10 PageID #:
                                              92



        Once inside the patrol car, Sgt. Walker activated the camera inside the passenger area of the

 car.1 According to Sgt. Walker, he was waiting for the return of information regarding Defendant’s

 driver’s license and insurance. Sgt. Walker testified Defendant was legally detained at this time.

        Earlier on the night in question, Officer Jeff Mosley of the Royce City Police Department had

 contacted Sgt. Walker, indicating he was suspicious of two vehicles, one of which he had stopped.

 Officer Mosley described the red car he had stopped as the “chase car.” Officer Mosley suspected

 the second vehicle, a white car with Arkansas license plates, might have drugs inside and that Sgt.

 Walker should be on the lookout for a white vehicle with Arkansas license plates. On cross-

 examination, Sgt. Walker testified he stopped Defendant’s white vehicle because it had a defective

 license plate light which is a violation of Texas traffic laws. Sgt. Walker did not recall stopping any

 other white vehicles with Arkansas license plates on the night in question.2

        In the patrol car, Sgt. Walker told Defendant that he pulled him over because he had a

 defective license plate light. Sgt. Walker asked Defendant how long Defendant had the car, and

 Defendant said for “a couple of days.” Sgt. Walker turned off his headlights in order to show

 Defendant that the light was out over the rear license plate on the vehicle Defendant was driving.

 Sgt. Walker agreed with Defendant that Defendant should tell his uncle about the defective light.

 Sgt. Walker then inquired as to Defendant’s trip to Texas, and Defendant stated he had been to

 Houston. Sgt. Walker commented that Defendant had driven about 100 miles out of the way.


        1
         The Court viewed a copy of the recording at the hearing. The Government also
 introduced the recording as Exhibit 1.
        2
          Defendant introduced as Exhibit 2 at the hearing the original DVD from Sgt. Walker’s
 patrol car, asserting this recording would contain previous traffic stops from the date in question
 and would verify whether Sgt. Walker stopped any other white vehicles with Arkansas license
 plates on the night in question.

                                                   4
Case 5:10-cr-00001-RWS-JBB           Document 62        Filed 06/21/10      Page 5 of 10 PageID #:
                                             93



 Defendant then said he had stopped by Dallas to see some friends. Defendant stated he had driven

 to these destinations from Arkansas all in one day, causing Sgt. Walker to comment that Defendant

 had been doing “a lot of driving.” Sgt. Walker then asked if Defendant did not have to work that

 day, and Defendant responded that he had been laid off. While waiting for the driver’s license check

 to be completed and after continued questions regarding Defendant’s extensive travel, Sgt. Walker

 placed a call for assistance.3 He then continued questioning Defendant regarding the times and dates

 of his travel. Defendant was struggling with his answers and then said “can you work with me?”

 Defendant then said “what’s going on,” and Sgt. Walker replied that they were just having a

 conversation.

        Defendant then commented that Sgt. Walker had called for assistance. He then told Sgt.

 Walker that he was supposed to meet this guy, the “main one,” on State Line in Texarkana and that

 Sgt. Walker should wait to call for assistance then, asking “you follow me?” Sgt. Walker asked

 “what are you talking about, Collins?” After Defendant acknowledged the other guy’s car, Sgt.

 Walker told Defendant that he knew Defendant was being followed by another car, and the other car

 had been stopped. Defendant replied, “I know.” Then Sgt. Walker stated, “And you’re the one who’s

 got the dope.” Defendant paused and then stated, “It’s not mine. I know what you are saying . . . .”

        At that point, Sgt. Walker told Defendant to get out of the patrol car. After instructing

 Defendant to put his hands behind his back and inviting Mr. Brown to put the handcuffs on

 Defendant, Sgt. Walker told Defendant not “to do anything silly.” Then, Sgt. Walker asked

 Defendant “how much you got in there?” Defendant told Sgt. Walker he did not know. Sgt. Walker



        3
           After speaking with Defendant inside his patrol car, and relying on his training in drug
 interdiction, Sgt. Walker became convinced Defendant was in possession of drugs.

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Case 5:10-cr-00001-RWS-JBB            Document 62         Filed 06/21/10     Page 6 of 10 PageID #:
                                              94



 asked “it’s in the trunk?” Defendant said “yes” and that “he was supposed to meet him [the guy in

 the red car] up here.” Sgt. Walker briefly walked to the driver’s side of the patrol car to check on

 his back-up, and when he returned, he said to Defendant, “didn’t you tell me there is dope in the

 car?” Sgt. Walker then asked if he could search the vehicle. Defendant gave verbal consent. Sgt.

 Walker explained the situation to the back-up, and they searched the trunk of the car, locating 2

 kilograms of cocaine. After Sgt. Walker located the narcotics, he read Defendant his Miranda rights.

 Sgt. Walker then observed the red car pass by on I-30.

        Although the Government’s response indicates Sgt. Walker arrested Defendant and read him

 his Miranda rights before asking for and receiving verbal consent to search, the DVD of the stop

 reveals that Sgt. Walker read Defendant his Miranda rights after receiving consent to search and

 locating the narcotics in the trunk of the car. Sgt. Walker left the narcotics in the vehicle because

 it is standard police procedure is to leave the drugs in the vehicle until the police can process the

 evidence. Mr. Brown, the firefighter who was riding with Sgt. Walker, drove the vehicle to the Mt.

 Pleasant police department. Based on his video monitoring, Sgt. Walker asserts the drugs never left

 his custody. According to Sgt. Walker, Mr. Brown was only operating the vehicle; Sgt. Walker was

 following him in the patrol car and recording him as well.

                                         IV. DISCUSSION

 A.     Whether Sgt. Walker had legal authorization to conduct the traffic stop

        Texas law allows a peace officer to arrest a person for a violation of the Transportation Code,

 “only if the offense is committed in the county or counties in which the municipality employing the

 peace officer is located.” Texas Code of Criminal Procedure, Chapter 14, Article 14.03(g)(2). In his

 motion, Defendant asserts, in one sentence, that Sgt. Walker had no legal authorization to conduct


                                                  6
Case 5:10-cr-00001-RWS-JBB               Document 62        Filed 06/21/10   Page 7 of 10 PageID #:
                                                 95



 a traffic stop outside his jurisdiction. Sgt. Walker testified he stopped Defendant at the 160 mile

 marker on I-30 which is within Titus County and in the City of Mt. Pleasant.4 Sgt. Walker is one

 of three officers employed by the City of Winfield which is also located within Titus County on I-30

 between mile marker 154 to approximately mile marker 156. Sgt. Walker explained that the City

 of Winfield is positioned approximately one quarter of a mile from the Titus County/Franklin County

 line,5 and he has extraterritorial jurisdiction that includes the first mile of Franklin County. It is

 undisputed, however, that the town of Winfield, Texas, where Sgt. Walker is employed, is within

 Titus County, and the 160 mile marker on I-30 is also in Titus County. Therefore, Sgt. Walker was

 within his jurisdiction when he made the stop.

 B.      Whether the traffic stop violated the Fourth Amendment

         Defendant further asserts the traffic stop violated the Fourth Amendment of the United States

 Constitution. According to Defendant, the search in the instant case does not fall within any

 exception to the warrant requirement because it was not a proper search incident to a lawful arrest;

 there was no probable cause to search the vehicle; and Sgt. Walker’s actions during the stop were

 not reasonably related in scope to the circumstances which may have justified the interference in the

 first place.

         The Fourth Amendment generally prohibits the government from executing a search or

 seizure without probable cause. See United States v. Kye Soo Lee, 898 F.2d 1034, 1039 (5th

 Cir.1990). If a warrantless search or seizure is conducted, the burden shifts to the government to



         4
             According to Sgt. Walker, this is part of his routine patrol.
         5
         One quarter of a mile west of Winfield on I-30, at the 153 mile marker, is the Franklin
 County line

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Case 5:10-cr-00001-RWS-JBB            Document 62        Filed 06/21/10      Page 8 of 10 PageID #:
                                              96



 justify the warrantless search. See United States v. Chavis, 48 F.3d 871, 872 (5th Cir.1995).

 However, a search is permissible without probable cause if consent is obtained prior to the search.

        A person may give consent to a search of his person, property, or vehicle. The Court should

 consider six factors when evaluating the voluntariness of consent: (1) the defendant’s custodial

 status; (2) the presence of coercive police procedures; (3) the extent and level of the defendant’s

 cooperation with the police; (4) the defendant’s awareness of his right to refuse consent; (5) the

 defendant’s education and intelligence; and (6) the defendant’s belief that no incriminating evidence

 will be found. See United States v. Cooper, 43 F.3d 140, 144 (5th Cir. 1995); citing United States

 v. Ruigomez, 702 F.2d 61, 65 (5th Cir.1983); United States v. Kelley, 981 F.2d 1464, 1470 (5th

 Cir.1993). No one factor is dispositive in determining the voluntariness of consent. See Cooper, 43

 F.3d at 144.

        Here, after he was placed in custody, Defendant gave consent to Sgt. Walker to search the

 vehicle. Defendant has not suggested nor was there any evidence advanced that his consent was not

 voluntary. Even so, it is noted that Defendant was in custody when consent was given. There is no

 evidence of the presence of coercive police procedures being used, and Defendant cooperated with

 Sgt. Walker. In fact, while talking with Sgt. Walker about his travel plans and after hearing Sgt.

 Walker call for assistance, Defendant volunteered that he was meeting the “main” guy in Texarkana.

        Although Sgt. Walker read Defendant his Miranda rights after asking for and receiving

 Defendant’s consent to search, it is not required that an officer advise a suspect of their right to

 refuse consent to a search for the consent to be voluntary. Schneckloth v. Bustamonte, 412 U.S. 218,

 231 (1973). Even if a defendant was unaware of his right to refuse consent, an individual’s subjective

 knowledge of the right is not a prerequisite to voluntary consent. Id. at 234. Here, although Sgt.


                                                   8
Case 5:10-cr-00001-RWS-JBB             Document 62        Filed 06/21/10       Page 9 of 10 PageID #:
                                               97



 Walker did not explicitly tell Defendant he had the right to refuse consent to search the car, it did

 not negate the voluntariness of the consent given. Importantly, there is no evidence Defendant was

 unaware of his right to refuse consent. Finally, there is no evidence before the Court to indicate that

 Defendant lacks education or average intelligence or that Defendant believed that no incriminating

 evidence would be found. Defendant acknowledged there were drugs in the vehicle before he gave

 verbal consent to search the vehicle. Based on these factors, the Court finds Defendant’s consent

 was voluntary.

        However, even if the Court were to assume the consent given was not voluntary, the Court

 notes that the United States Supreme Court, in Terry v. Ohio, 392 U.S. 1 (1968), carved out an

 exception to the general rule requiring the existence of probable cause prior to a detention or search.

 In Terry, the Supreme Court stated that where there is a reasonable and articulable suspicion that a

 person has committed or is about to commit a crime, limited searches and seizures are permissible

 under the Fourth Amendment even though probable cause does not exist. If the detaining officer is

 able to “point to specific and articulable facts which, taken together with rational inferences from

 those facts, reasonably warrant [the search or seizure],” then the intrusion is valid. See Id. at 22. In

 Michigan v. Long, 463 U.S. 1032 (1983), the Supreme Court applied the principles of Terry v. Ohio,

 392 U.S. 1 (1968) to automobile searches.

        In this case, the initial traffic stop was valid because Sgt. Walker observed a vehicle with a

 defective license plate light in violation of the traffic laws of the State of Texas. Once Sgt. Walker

 stopped Defendant, he was entitled to conduct an investigation reasonably related in scope to the

 circumstances that initially justified it. Several circumstances during the stop entitled Sgt. Walker

 to detain Defendant until he had satisfied his suspicions. First, Sgt. Walker noted the strong odor of


                                                    9
Case 5:10-cr-00001-RWS-JBB           Document 62        Filed 06/21/10      Page 10 of 10 PageID #:
                                              98



 air freshener emanating from the vehicle as well as Defendant’s inability to lower the passenger-side

 window. Given Sgt. Walker’s training in drug interdiction, Defendant’s responses regarding the

 vehicle and the timing and extent of his travel plans, together with the circumstances surrounding

 the initial stop, gave rise to suspicions unrelated to the traffic offense. Sgt. Walker properly

 broadened his inquiry. The totality of the circumstances known to Sgt. Walker met the requisite

 level of reasonable suspicion under Terry to detain Defendant until he had satisfied his suspicions.

 Defendant’s argument that the search violated the Fourth Amendment is without merit.

                                    V. RECOMMENDATION

         Based on the foregoing, it is hereby

         RECOMMENDED that Defendant’s Motion to Suppress (Docket Entry # 33) be DENIED.

         Within fourteen (14) days after receipt of the magistrate judge’s report, any party may serve
 .
 and file written objections to the findings and recommendations contained in the report. A party’s

 failure to file written objections to the findings, conclusions and recommendations contained in this

 Report within fourteen days after being served with a copy shall bar that party from de novo review

 by the district judge of those findings, conclusions and recommendations and, except on grounds of

 plain error, from appellate review of unobjected-to factual findings and legal conclusions accepted

 and adopted by the district court. Douglass v. United States Auto Ass'n., 79 F.3d 1415, 1430 (5th

 Cir. 1996) (en banc).

         SIGNED this 21st day of June, 2010.




                                                       ____________________________________
                                                       CAROLINE M. CRAVEN
                                                       UNITED STATES MAGISTRATE JUDGE
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